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                                UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEW JERSEY


   IN RE VALEANT                                          Master No. 3:15-cv-07658-MAS-LHG
   PHARMACEUTICALS
   INTERNATIONAL, INC.
   SECURITIES LITIGATION

   THIS DOCUMENT RELATES TO:
   ALL CASES


                             STIPULATION AND [PROPOSED] ORDER

           WHEREAS, on September 20, 2018, Plaintiffs in the above-captioned Master Action In

   re Valeant Pharmaceuticals International, Inc. Securities Litigation, Case No. 15-cv-7658, filed

   a First Amended Consolidated Complaint (the “FAC”);

           WHEREAS, Defendants Jeffrey W. Ubben, ValueAct Capital Management L.P.,

   ValueAct Capital Master Fund, L.P., ValueAct Co-Invest Master Fund, L.P., VA Partners I,

   LLC, and ValueAct Holdings, L.P. (the “ValueAct Defendants”) moved to dismiss certain claims

   asserted in the FAC on October 31, 2018 (the “ValueAct Defendants’ Motion to Dismiss”);

           WHEREAS, on October 12, 2018, a Case Management Order was entered directing that

   these actions as well as “[a]ny actions later filed in this Court that are identified as related

   matters” will be “coordinated for pretrial purposes” (ECF No. 369);

           WHEREAS, Defendants assert that pursuant to the Private Securities Litigation Reform

   Act (the “PSLRA”), 15 U.S.C. § 78u–4, a stay of discovery applies during the pendency of the

   ValueAct Defendants’ Motion to Dismiss;
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           WHEREAS, the Class Plaintiffs have agreed not to oppose the application of a stay as to

   the Parties because the Parties have agreed that document discovery of non-Parties should

   proceed during the pendency of the ValueAct Defendants’ Motion to Dismiss;

           WHEREAS, the Opt-Out Plaintiffs consent to a stay for a limited duration in their Opt-

   Out Actions, none of which are subject to any motion to dismiss by the ValueAct Defendants;

           IT IS HEREBY STIPULATED AND AGREED, by the undersigned counsel on behalf of

   the Parties, that:

           (a)     All discovery as to the Parties in these Actions, and their outside counsel, shall be

   stayed until a ruling on the ValueAct Defendants’ Motion to Dismiss;

           (b)     Document discovery of non-Parties to this action shall proceed, provided,

   however, that no depositions shall be taken during the stay and, for the avoidance of doubt: (1)

   discovery shall be stayed as to (a) the Parties or current or former employees, officers,

   investment advisers, subadvisers, and directors of the Parties; and (b) previously dismissed

   defendants Goldman Sachs & Co., J.P. Morgan Securities LLC, Merrill Lynch, Pierce, Fenner &

   Smith, Inc., CIBC World Markets Corp., Citigroup Global Markets, Inc., DBS Bank Ltd., TD

   Securities (USA) LLC, BMO Capital Markets Corp., and SMBC Nikko Securities America, Inc.,

   including their current or former employees, officers, and affiliates; and (2) nothing herein shall

   impact the pending dispute between Plaintiffs and the Philidor entities as to whether that

   discovery should be stayed pending the criminal appeals;

           (c)     Notwithstanding the above, the stay of the Opt-Out Actions will extinguish upon

   the earlier of (i) 90 days after the date this stipulation is so-ordered by the Court; or (ii) a ruling

   on the ValueAct Defendants’ Motion to Dismiss. If the stay expires after the 90-day period,

   Defendants and plaintiffs in the Opt-Out Actions shall meet and confer to establish an expedited
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   briefing schedule to address whether the stay of the Opt-Out Actions should continue;

          (d)     The Parties will submit a status update to the Court on January 18, 2019; and

          (e)     Within 15 days of resolution of the ValueAct Defendants’ Motion to Dismiss, the

   Parties shall submit a revised Joint Discovery Plan to the Court or, if the Parties are unable to

   reach agreement, a joint submission setting forth the Parties’ respective positions concerning a

   proposed discovery schedule.

          Stipulated and agreed to by:

   DATED: November 13, 2018

   SEEGER WEISS LLP                                  McCARTER & ENGLISH LLP

   /s/ Christopher A. Seeger                         /s/ Richard Hernandez
   Christopher A. Seeger                             Richard Hernandez
   David R. Buchanan                                 100 Mulberry Street
   55 Challenger Road, 6th Floor                     Newark, NJ 07102
   Ridgefield Park, NJ 07660                         Telephone: (973) 848-8615
   Telephone: (973) 639-9100                         Fax: (973) 297-6615
   Fax: (973) 639-9393
                                                     Local Counsel for Valeant Pharmaceuticals
   Local Counsel for Plaintiffs in Case No. 15-      International, Inc., Robert L. Rosiello, Ari S.
   cv-07658                                          Kellen, Ronald H. Farmer, Colleen Goggins,
                                                     Robert A. Ingram, Anders Lönner, Theo
   ROBBINS GELLER RUDMAN & DOWD                      Melas-Kyriazi, Robert N. Power, Norma
   LLP                                               Provencio, Katharine B. Stevenson, and
                                                     Tanya Carro in Case Nos. 15-cv-07658, 18-
   Darren J. Robbins                                 cv- 08705
   Tor Gronborg
   X. Jay Alvarez                                    Local Counsel for Valeant Pharmaceuticals
   Matthew I. Alpert                                 International, Inc., Robert L. Rosiello, Ari S.
   Debahish Bakshi                                   Kellen, and Tanya Carro in Case Nos.
   655 West Broadway, Suite 1900                     16-cv-05034, 16-cv-06127, 16-cv-06128,
   San Diego, CA 92101                               16-cv-07212, 17-cv-06513, 17-cv-07552,
   Telephone: (619) 231-1058                         17-cv-12088, 17-cv-12808, 17-cv-13488,
   Fax: (619) 231-7423                               18-cv-00383, 18-cv-00846, 18-cv-02286

   James E. Barz                                     Local Counsel for Valeant Pharmaceuticals
   Frank A. Richter                                  International, Inc. in Case Nos. 16-cv-07321,
   200 South Wacker Drive, 31st Floor                16-cv-07324, 16-cv-07328, 16-cv-07494,
   Chicago, IL 60606                                 16-cv-07496, 16-cv-07497, 18-cv-00089,
Case 3:15-cv-07658-MAS-LHG Document 396-1 Filed 11/13/18 Page 4 of 10 PageID: 12369



   Telephone: (312) 674-4674                     18-cv-00893
   Fax: (312) 674-4676
                                                 Local Counsel for Valeant Pharmaceuticals
   Jack Reise                                    International, Inc., Robert L. Rosiello,
   Robert J. Robbins                             and Tanya Carro in Case Nos. 17-cv-06365,
   Kathleen B. Douglas                           17-cv-07625, 17-cv-07636, 18-cv-00032,
   120 East Palmetto Park Road, Suite 500        18-cv-08595, 18-cv-12673
   Boca Raton, FL 33432
   Telephone: (561) 750-3000                     Counsel for Valeant Pharmaceuticals
   Fax: (561) 750-3364                           International, Inc., Robert L. Rosiello, and
                                                 Ari S. Kellen, and local counsel for Tanya
   John C. Herman                                Carro in Case No. 18-cv-00343
   Monarch Tower, Suite 1650
   3424 Peachtree Road, N.E.                     SAUL EWING ARNSTEIN & LEHR LLP
   Atlanta, GA 30326
   Telephone: (404) 504-6500                     /s/ Francis X. Riley III
   Fax: (404) 504-6501                           Francis X. Riley III
                                                 650 College Road East, Suite 4000
   Counsel for Plaintiffs in Case No.            Princeton, NJ 08540
   15-cv-07658                                   Telephone: (609) 452-3145
                                                 Fax: (609) 452-3122
   CARELLA, BRYNE, CECCHI, OLSTEIN,
   BRODY & AGNELLO, P.C.                         Local Counsel for Valeant Pharmaceuticals
                                                 International, Inc. in Case No. 18-cv-01223
   /s/ James E. Cecchi
   James E. Cecchi                               SIMPSON THACHER & BARTLETT
   5 Becker Farm Road                            LLP
   Roseland, NJ 07068
   Telephone: (973) 994-1700                     Paul C. Curnin (admitted pro hac vice)
   Fax: (973) 994-1744                           Craig S. Waldman (admitted pro hac vice)
                                                 Daniel J. Stujenske (admitted pro hac vice)
   Local Counsel for Plaintiffs in Case Nos. 16- Dean McGee (admitted pro hac vice)
   cv-05034, 16-cv-06127, 16-cv-06128, 16-cv-    425 Lexington Avenue
   07212, 17-cv-07552, 17-cv-12808,              New York, New York 10017
   17-cv-13488                                   Telephone: (212) 455-2000
                                                 Fax: (212) 455-2502
   BERNSTEIN LITOWITZ BERGER &
   GROSSMANN LLP                                 Counsel for the Valeant Defendants in Case
                                                 Nos. 15-cv-07658, 18-cv- 08705
   Salvatore J. Graziano
   Jonathan D. Uslaner                           Counsel for Valeant Pharmaceuticals
   David Kaplan                                  International, Inc., Robert L. Rosiello, and
   Richard D. Gluck                              Ari S. Kellen in Case Nos. 16-cv-05034,
   Brandon Marsh                                 16-cv-06127, 16-cv-06128, 16-cv-07212, 17-
   12481 High Bluff Drive, Suite 300             cv-06513, 17-cv-07552, 17-cv-12088,
   San Diego, CA 92130                           17-cv-12808, 17-cv-13488, 18-cv-00383,
Case 3:15-cv-07658-MAS-LHG Document 396-1 Filed 11/13/18 Page 5 of 10 PageID: 12370



   Telephone: (858) 793-0070                    18-cv-00846, 18-cv-02286
   Fax: (858) 793-0323
                                                Counsel for Valeant Pharmaceuticals
   Counsel for Plaintiffs in Case Nos.          International, Inc. in Case Nos. 16-cv-07321,
   16-cv-05034, 16-cv-06127, 16-cv-06128, 16-   16-cv-07324, 16-cv-07328, 16-cv-07494,
   cv-07212, 17-cv-07552, 17-cv-12808,          16-cv-07496, 16-cv-07497, 18-cv-00089, 18-
   17-cv-13488                                  cv-00893, 18-cv-01223

   LOWENSTEIN SANDLER LLP                       Counsel for Valeant Pharmaceuticals
                                                International, Inc. and Robert L. Rosiello in
   /s/ Lawrence M. Rolnick                      Case Nos. 17-cv-06365, 17-cv-07625,
   Lawrence M. Rolnick                          17-cv-07636, 18-cv-00032, 18-cv-08595, 18-
   Marc B. Kramer                               cv-12673
   Zachary D. Rosenbaum
   Thomas E. Redburn, Jr.                       COOLEY LLP
   Sheila A. Sadighi
   Michael J. Hampson                           William J Schwartz (admitted pro hac vice)
   One Lowenstein Drive                         Laura Grossfield Birger (admitted pro hac
   Roseland, NJ 07068                           vice)
   Telephone: (973) 597-2500                    1114 Avenue of the Americas
   Fax: (973) 597-2400                          New York, New York 10036
                                                Telephone: (212) 479-6000
   Counsel for Plaintiffs in Case Nos.          Fax: (212) 479-6275
   16-cv-07321, 16-cv-07324, 16-cv-07328,
   16-cv-07494, 16-cv-07496, 16-cv-07497,       Counsel for Tanya Carro in Case Nos.
   18-cv-00089, 18-cv-00893, 18-cv-01223        15-cv-07658, 16-cv-05034, 16-cv-06127,
                                                16-cv-06128, 16-cv-07212, 17-cv-06365,
   WHIPPLE AZZARELLO, LLC                       17-cv-07625, 17-cv-07636, 17-cv-06513,
                                                17-cv-07552, 17-cv-12088, 17-cv-12808,
   /s/ John A. Azzarello                        17-cv-13488, 18-cv-00032, 18-cv-00343,
   John A. Azzarello                            18-cv-00383, 18-cv-00846, 18-cv-02286,
   161 Madison Avenue, Suite 325                18-cv-08595, 18-cv-12673
   Morristown, NJ 07960
   Telephone: (973) 267-7300                    DEBEVOISE & PLIMPTON LLP
   Fax: (973) 267-0031
                                                /s/ Holly S. Wintermute
   Local Counsel for Plaintiffs in Case No.     Holly S. Wintermute
   17-cv-06365                                  Bruce E. Yannett (admitted pro hac vice)
                                                919 Third Avenue
   KASOWITZ BENSON TORRES LLP                   New York, NY 10022
                                                Telephone: (212) 909-6000
   /s/ Stephen W. Tountas                       Fax: (212) 909-6836
   Stephen W. Tountas
   One Gateway Center                           Jonathan R. Tuttle (admitted pro hac vice)
   Suite 2600                                   Ada Fernandez Johnson (admitted pro hac
   Newark, NJ 07102                             vice)
Case 3:15-cv-07658-MAS-LHG Document 396-1 Filed 11/13/18 Page 6 of 10 PageID: 12371



   Telephone: (973) 645-9462                   801 Pennsylvania Ave. NW
   Fax: (973) 643-2030                         Washington, D.C. 20004
                                               Telephone: (202) 383-8036
   Local Counsel for Plaintiffs in Case Nos.   Fax: (202) 383-8118
   17-cv-07636 and 18-cv-08595
                                               Counsel for J. Michael Pearson in Case Nos.
   Counsel for Plaintiffs in Case Nos.         15-cv-07658, 16-cv-05034, 16-cv-06127,
   17-cv-07625, 18-cv-12673, 18-cv-15286       16-cv-06128, 16-cv-07212, 16-cv-07321,
                                               16-cv-07324, 16-cv-07328, 16-cv-07494,
   LABATON SUCHAROW LLP                        16-cv-07496, 16-cv-07497, 17-cv-06365,
                                               17-cv-07625, 17-cv-07636, 17-cv-06513,
   Serena P. Hallowell                         17-cv-07552, 17-cv-12088, 17-cv-12808,
   Jonathan Gardner                            17-cv-13488, 18-cv-00032, 18-cv-00089,
   Eric J. Belfi                               18-cv-00343, 18-cv-00383, 18-cv-00846,
   Thomas W. Watson                            18-cv-00893, 18-cv-02286, 18-cv-08595, 18-
   140 Broadway                                cv-12673
   New York, NY 10005
   Telephone: (212) 907-0700                   MENZ BONNER KOMAR &
   Fax: (212) 818-0477                         KOENIGSBERG LLP

   Counsel for Plaintiffs in Case Nos.         /s/ Patrick D. Bonner, Jr.
   17-cv-06365, 17-cv-07625, 17-cv-07636,      Patrick D. Bonner, Jr.
   18-cv-08595, 18-cv-15286                    125 Half Mile Road, Suite 200
                                               Red Bank, NJ 07701
   STONE BONNER & ROCCO LLP                    Telephone: (732) 933-2757
                                               Fax: (914) 997-4117
   /s/ Patrick L. Rocco
   Patrick L. Rocco                            Counsel for J. Michael Pearson in Case No.
   James P. Bonner                             18-cv-01223
   447 Springfield Avenue, Second Floor
   Summit, NJ 07901                            CHIESA SHAHINIAN & GIANTOMASI
   Telephone: (908) 516-2045                   PC
   Fax: (908) 516-2049
                                               /s/ A. Ross Pearlson
   Ralph M. Stone                              A. Ross Pearlson
   1700 Broadway 41st Fl.                      James Van Splinter
   New York, NY 10019                          One Boland Drive
   Telephone: (212) 239-4340                   West Orange, NJ 07052
                                               Telephone: (973) 530-2100
   Local Counsel for Plaintiffs in Case No.    Fax: (973) 530-2300
   17-cv-06513
                                               Local Counsel for PricewaterhouseCoopers
   DIETRICH SIBEN THORPE LLP                   LLP in Case Nos. 15-cv-07658, 17-cv-06365,
                                               17-cv-07625, 17-cv-07636, 18-cv-00032,
   Matthew P. Siben                            18-cv-08595, 18-cv-08705
   500 Australian Avenue South, Suite 637
Case 3:15-cv-07658-MAS-LHG Document 396-1 Filed 11/13/18 Page 7 of 10 PageID: 12372



   West Palm Beach, FL 33401                      KING & SPALDING LLP
   Telephone: (561) 820-4882
   Fax: (561) 820-4883                            James J. Capra, Jr. (admitted pro hac vice)
                                                  James P. Cusick (admitted pro hac vice)
   David A. Thorpe                                Christina M. Conroy (admitted pro hac vice)
   Shawn M. Hayes                                 1185 Avenue of the Americas
   9595 Wilshire Blvd., Suite 900                 New York, NY 10036-4003
   Beverly Hills, CA 90212                        Telephone: (212) 556-2100
   Telephone: (310) 300-8450                      Fax: (212) 556-2222
   Fax: (310) 300-8041
                                                  Kenneth Y. Turnbull (admitted pro hac vice)
   Counsel for Plaintiffs in Case No.             1700 Pennsylvania Avenue, NW
   17-cv-06513                                    Washington, DC 20006-4707
                                                  Telephone: (202) 737-0500
   LITE DEPALMA GREENBERG, LLC                    Fax: (202) 626-3737

   /s/ Bruce D. Greenberg                         Counsel for PricewaterhouseCoopers LLP in
   Bruce D. Greenberg                             Case Nos. 15-cv-07658, 17-cv-06365,
   570 Broad Street, Suite 1201                   17-cv-07625, 17-cv-07636, 18-cv-00032,
   Newark, NJ 07102                               18-cv-08595, 18-cv-08705
   Telephone: (973) 623-3000
   Fax: (973) 623-0858                            HARTMANN DOHERTY ROSA
                                                  BERMAN & BULBULIA, LLC
   Local Counsel for Plaintiffs in Case No. 17-
   cv-12088                                       /s/ Mark A. Berman
                                                  Mark A. Berman
   GRANT & EISENHOFER, P.A.                       Robin D. Fineman
                                                  65 Route 4 East
   Jay W. Eisenhofer                              River Edge, NJ 07661
   Daniel L. Berger                               Telephone: (201) 441-9056
   Caitlin M. Moyna                               Fax: (201) 441-9435
   Jing-Li Yu
   485 Lexington Avenue                           Local Counsel for the Stock Underwriter
   New York, NY 10017                             Defendants in Case No. 15-cv-07658
   Telephone: (646) 722-8500
   Fax: (646) 722-8501                            Local Counsel for Deutsche Bank Securities
                                                  Inc. and Barclays Capital Inc. in Case No.
   Counsel for Plaintiffs in Case No. 17-cv-      18-cv-00032
   12088
                                                  PAUL, WEISS, RIFKIND, WHARTON &
   COHEN MILSTEIN SELLERS & TOLL                  GARRISON LLP
   PLLC
                                                  Richard A. Rosen (admitted pro hac vice)
   /s/ Michael B. Eisenkraft                      1285 Avenue of the Americas
   Michael B. Eisenkraft                          New York, New York 10019
   88 Pine Street 14th Floor                      Telephone: (212) 373-3000
Case 3:15-cv-07658-MAS-LHG Document 396-1 Filed 11/13/18 Page 8 of 10 PageID: 12373



   New York, NY 10005                          Fax: (212) 757-3990
   Telephone: (212) 838-7797
                                               Counsel for the Stock Underwriter
   Steven J. Toll                              Defendants in Case No. 15-cv-07658
   Julie Goldsmith Reiser
   S. Douglas Bunch                            Counsel for Deutsche Bank Securities Inc.
   Adam H. Farra                               and Barclays Capital Inc. in Case No.
   1100 New York Avenue, N.W. 5th Floor        18-cv-00032
   Washington, D.C. 20005
   Telephone: (202) 408-4600                   SCHULTE ROTH & ZABEL LLP

   Counsel for Plaintiffs in Case No.          /s/ Cara David
   18-cv-00032                                 Cara David
                                               Barry A. Bohrer (admitted pro hac vice)
   BRESSLER, AMERY & ROSS, P.C.                919 Third Avenue
                                               New York, NY 10022
   /s/ David J. Libowsky                       Telephone: (212) 756-2000
   David J. Libowsky                           Fax: (212) 593-5955
   325 Columbia Turnpike, Suite 301
   Florham Park, NJ 07932                      Counsel for Deborah Jorn in Case Nos.
   Telephone: (973) 514-1200                   15-cv-07658, 16-cv-05034, 16-cv-06127,
   Fax: (973) 514-1660                         16-cv-06128, 16-cv-07212, 17-cv-07552,
                                               17-cv-12088, 17-cv-12808, 17-cv-13488,
   Local Counsel for Plaintiffs in Case Nos.   18-cv-00343, 18-cv-00383, 18-cv-00846,
   18-cv-00343 and 18-cv-02286                 18-cv-02286

   LIEFF CABRASER HEIMANN &                    WINSTON & STRAWN LLP
   BERNSTEIN, LLP
                                               /s/ James S. Richter
   Steven E. Fineman                           James S. Richter
   Daniel P. Chiplock                          200 Park Avenue
   Michael J. Miarmi                           New York, NY 10166
   250 Hudson Street, 8th Floor                Telephone: (212) 294-6700
   New York, NY 10013                          Fax: (212) 294-4700
   Telephone: (212) 355-9500
   Fax: (212) 355-9592                         Robert Y. Sperling (admitted pro hac vice)
                                               Joseph L. Motto (admitted pro hac vice)
   Richard M. Heimann                          35 West Wacker Drive
   Bruce W. Leppla                             Chicago, Illinois 60601
   275 Battery Street, 29th Floor              Telephone: (312) 558-5600
   San Francisco, CA 94111
   Telephone: (415) 956-1000                   Elizabeth P. Papez (admitted pro hac vice)
   Fax: (415) 956-1008                         1700 K Street, N.W.
                                               Washington, D.C. 20006-3817
   Sharon M. Lee                               Telephone: (202) 282-5000
   2101 Fourth Avenue, Suite 1900
Case 3:15-cv-07658-MAS-LHG Document 396-1 Filed 11/13/18 Page 9 of 10 PageID: 12374



   Seattle, WA 98121                          Counsel for Howard B. Schiller in Case Nos.
   Telephone: (206) 739-9059                  15-cv-07658, 16-cv-05034, 16-cv-06127,
                                              16-cv-06128, 16-cv-07212, 16-cv-07321,
   Counsel for Plaintiffs in Case No.         16-cv-07324, 16-cv-07328, 16-cv-07494,
   18-cv-00343 and 18-cv-02286                16-cv-07496, 16-cv-07497, 17-cv-06365,
                                              17-cv-07625, 17-cv-07636, 17-cv-06513,
   SKOLOFF & WOLFE, P.C.                      17-cv-07552, 17-cv-12088, 17-cv-12808,
                                              17-cv-13488, 18-cv-00032, 18-cv-00089,
   /s/ Jonathan W. Wolfe                      18-cv-00343, 18-cv-00383, 18-cv-00846,
   Jonathan W. Wolfe                          18-cv-00893, 18-cv-01223, 18-cv-02286,
   293 Eisenhower Parkway                     18-cv-08595, 18-cv-12673, 18-cv-15286
   Livingston, NJ 07039
   Telephone: (973) 992-0900                  O’MELVENY & MYERS LLP

   Local Counsel for Plaintiffs in Case No.   /s/ Allen W. Burton
   18-cv-00383                                Allen W. Burton
                                              7 Times Square
   HUNG G. TA, ESQ. PLLC                      New York, NY 10036
                                              Telephone: (212) 326-2000
   /s/ Hung G. Ta
   Hung G. Ta                                 Counsel for Jeffrey W. Ubben, ValueAct
   JooYun Kim                                 Holdings, L.P., ValueAct Capital Master
   Natalia D. Williams                        Fund, L.P., VA Partners I, LLC, ValueAct
   250 Park Avenue, Seventh Floor             Capital Management L.P., and ValueAct Co-
   New York, NY 10177                         Invest Master Fund, L.P. in Case No.
   Telephone: (646) 453-7288                  15-cv-07658
   Fax: (973) 994-1744

   Counsel for Plaintiffs in Case Nos.
   18-cv-00383 and 18-cv-00846

   SAFIRSTEIN METCALF LLP

   Peter Safirstein
   Elizabeth Metcalf
   1250 Broadway, 27th Floor
   New York, NY 10001
   Telephone: (212) 201-2845

   Counsel for Plaintiffs in Case No.
   18-cv-00846

   KYROS LAW, PC

   Konstantine Kyros
   17 Miles Road
Case 3:15-cv-07658-MAS-LHG Document 396-1 Filed 11/13/18 Page 10 of 10 PageID: 12375



    Hingham, MA 02043
    Telephone: (800) 934-2921

    Counsel for Plaintiffs in Case No.
    18-cv-00846

    QUINN EMANUEL URQUHART &
    SULLIVAN, LLP

    /s/ Chad Johnson
    Chad Johnson
    Steig Olson
    Rollo Baker
    Kathryn Bonacorsi
    Jesse Bernstein
    51 Madison Avenue, 22nd Floor
    New York, New York 10010
    Telephone: (212) 849-7000

    Counsel for Plaintiffs in Case No. 18-cv-
    08705
